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                             No. 22-5807


       IN THE UNITED STATES COURT OF APPEALS
                FOR THE SIXTH CIRCUIT


                  STATE OF TENNESSEE, et al.,

                                        Plaintiffs-Appellees,

                                  v.

              DEPARTMENT OF EDUCATION, et al.,

                                        Defendants-Appellants.


          On Appeal from the United States District Court
for the Eastern District of Tennessee, No. 3:21-cv-00308 (Atchley, J.)


                   BRIEF FOR APPELLANTS


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          STATEMENT REGARDING ORAL ARGUMENT

     The district court’s decision entering a preliminary injunction

against   the   Equal     Employment     Opportunity         Commission,   the

Department of Education, and the Department of Justice raises

important questions about state standing, reviewability under the

Administrative Procedure Act, and the procedural requirements of the

Administrative Procedure Act. Because it would assist the Court in

resolving each of those questions, the United States requests that the

Court hold oral argument.
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                  STATEMENT OF JURISDICTION

     The plaintiff States invoked the district court’s jurisdiction under

28 U.S.C. § 1331, but the district court’s jurisdiction is contested. See

infra Part I (arguing that plaintiffs lacked standing). The court entered

its order granting in part and denying in part the plaintiff States’ motion

for preliminary injunction on July 15, 2022. Op. 46, R. 86, Page ID

# 1987. The United States filed a timely notice of appeal on September

13, 2022. Notice of Appeal, R. 100, Page ID # 2407. This Court has

statutory jurisdiction over the appeal under 28 U.S.C. § 1292(a)(1).

                   STATEMENT OF THE ISSUES

     This case concerns a pre-enforcement challenge brought by 20

plaintiff States seeking to enjoin implementation of interpretive

documents issued by the Equal Employment Opportunity Commission

(EEOC) and the Department of Education (Education) in the wake of the

Supreme Court’s decision in Bostock v. Clayton County, 140 S. Ct. 1731

(2020). Those documents explain that the agencies interpret prohibited

sex discrimination (under Title VII and Title IX respectively) to include

discrimination based on sexual orientation or gender identity.         The

questions presented are:
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     1.    Whether the States have standing to support a pre-

enforcement challenge to the agencies’ documents.

     2.    Whether the challenged documents constitute reviewable

“final agency action” for purposes of review under the Administrative

Procedure Act (APA).

     3.    Whether the district court abused its discretion in granting a

preliminary injunction where the States failed to show a likelihood of

success on the merits of their APA notice-and-comment claim and failed

to show that the balance of equities weighs in favor of preliminary relief.

     4.    Whether the preliminary injunction granted is overbroad.

                     STATEMENT OF THE CASE

     A.    Statutory Background

     1.    Title VII of the Civil Rights Act of 1964 prohibits employers

from “discriminat[ing] against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of

such individual’s ... sex.” 42 U.S.C. § 2000e-2(a)(1). Title VII also forbids

an employer from “limit[ing], segregat[ing], or classify[ing] ... employees

or applicants for employment in any way which would deprive or tend to

deprive any individual of employment opportunities or otherwise


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adversely affect his status as an employee, because of such individual’s

... sex.” Id. § 2000e-2(a)(2). EEOC is tasked with implementing those

statutory prohibitions.

        Although EEOC may bring enforcement actions against private

employers, Title VII does not authorize EEOC to bring enforcement

actions against states. See 42 U.S.C. § 2000e-5(f)(1). If EEOC receives a

charge claiming that an individual is aggrieved by an unlawful

employment practice by a state employer, EEOC will investigate that

charge. Id. § 2000e-5(b). After completing the investigation, EEOC will

decide whether there is reasonable cause to believe that the charge is

true.

        If EEOC does not find reasonable cause, it will dismiss the charge

and issue a right-to-sue notice to the complaining employee or applicant.

42 U.S.C. § 2000e-5(f)(1). If EEOC finds that there is reasonable cause

to believe that the charge is true, then the agency must “endeavor to

eliminate any such alleged unlawful employment practice by informal

methods of conference, conciliation, and persuasion.” Id. If conciliation

fails with respect to a charge involving a State employer, EEOC must

refer the matter to the Department of Justice (DOJ) to decide whether to


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bring an enforcement action or instead issue a right-to-sue notice. Id.

§ 2000e-5(f)(1).

     Even as to private employers, EEOC has no authority to impose

penalties but can instead only bring enforcement actions seeking

damages in federal court. See Occidental Life Ins. Co. of Cal. v. EEOC,

432 U.S. 355, 363 (1977). And EEOC has limited resources, so in practice

brings enforcement actions in only a small number of cases. See EEOC,

EEOC        Litigation     Statistics,        FY1997        through         FY2021,

https://perma.cc/R4RQ-PP5M. Thus, most Title VII suits are private

actions.

     2.     Title IX prohibits discrimination on the basis of sex in

federally funded education programs and activities. 20 U.S.C. § 1681(a).

The statute authorizes and directs Education “to effectuate the

provisions of section 1681 … by issuing rules, regulations, or orders of

general applicability which shall be consistent with achievement of the

objectives of the statute.” Id. § 1682. Title IX is enforced in two ways: (1)

through civil actions by private parties directly against recipients of

federal financial assistance; and (2) through administrative actions that

can, if voluntary compliance is not reached, result in a termination of


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funding to educational programs or a request to DOJ to initiate other

legal action. See id.; see also Gebser v. Lago Vista Indep. Sch. Dist., 524

U.S. 274, 288 (1998).

     In enforcing Title IX, Education’s investigations typically begin

with a complaint from a private party (though Education also has

authority to initiate investigations on its own). 34 C.F.R. § 100.7(a), (b)

(incorporated by 34 C.F.R. § 106.81).         Education generally must

investigate any complaint that indicates a “possible failure to comply”

with Title IX. Id. § 100.7(c). If the investigation finds a “failure to

comply,” Education must attempt to secure voluntary compliance

through informal means. Id. § 100.7(d)(1). If such efforts fail, Education

will make a written finding that the recipient is in violation of Title IX

and then, if further attempts at voluntary resolution are not successful,

must either refer the matter to DOJ with a recommendation that

appropriate proceedings be brought to enforce Title IX or begin

administrative proceedings to suspend or terminate federal financial

assistance. Id. §§ 100.7(d), 100.8(a). A final decision resulting from the

agency’s administrative proceedings to suspend or terminate financial




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assistance is subject to judicial review in the court of appeals for the

circuit in which the recipient is located. 20 U.S.C. §§ 1683, 1234g(a).

     3.    In Bostock v. Clayton County, 140 S. Ct. 1731, 1744 (2020), the

Supreme Court held that discrimination on the basis of sexual

orientation or transgender status is necessarily discrimination “because

of sex” under Title VII. That decision affirmed, sub nom, this Court’s

decision in EEOC v. R.G. & G.R. Harris Funeral Homes, 884 F.3d 560

(6th Cir. 2018), which also held that Title VII prohibits discrimination

based on transgender status. The Supreme Court reasoned that “[a]n

employer who fires an individual for being homosexual or transgender

fires that person for traits or actions it would not have questioned in

members of a different sex.” Bostock, 140 S. Ct. at 1737. Because “[s]ex

plays a necessary and undisguisable role in the decision,” the Court held

that such discrimination is prohibited by the plain text of Title VII. Id.

     B.    Agency Responses to Bostock

     In June 2021, EEOC issued a Technical Assistance Document titled

“Protections Against Employment Discrimination Based on Sexual

Orientation or Gender Identity.” Compl. Ex. D, R. 1-5, Page ID # 76-86.

That document made clear that it “does not have the force and effect of


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law and is not meant to bind the public in any way,” and that it instead

was “intended only to provide clarity to the public regarding existing

requirements under the law.” Id. It describes the facts and holding of

the Supreme Court’s decision in Bostock and “explains the [EEOC’s]

established legal positions on LGBTQ+ related matters, as voted by the

Commission.” Id., R. 1-5, Page ID # 77-78.1 Those longstanding EEOC

positions include, as relevant here, that (1) prohibiting an employee from

dressing consistent with their gender identity would constitute sex

discrimination, (2) while employers may generally have separate sex-

segregated bathrooms, EEOC has “taken the position that employers

may not deny an employee equal access to a bathroom … that

corresponds to the employee’s gender identity” and (3) intentional and

repeated use of pronouns or names inconsistent with an employee’s




     1 In particular, the document cites the Commission’s positions as
established in Macy v. Dep’t of Justice, EEOC Appeal No. 0120120821
(Apr. 20, 2012), Lusardi v. Dep’t, of the Army, EEOC Appeal No.
0120133395 (Apr. 1, 2015), and Baldwin v. Dep’t of Transp., EEOC
Appeal No. 0120133080 (July 15, 2015).
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gender identity could contribute to a hostile work environment.”2 Id., R.

1-5, Page ID # 81-82.

     Also in June 2021, Education published in the Federal Register a

Notice of Interpretation (NOI) “to clarify [its] enforcement authority over

discrimination based on sexual orientation and discrimination based on

gender identity under Title IX … in light of the Supreme Court’s decision

in Bostock.” Compl., Ex. A, R. 1-2, Page ID # 42. The NOI explained that

the interpretation would guide Education in processing complaints and

conducting investigations, but that “it does not itself determine the

outcome in any particular case or set of facts.”            Id.   The next day

Education issued a “Dear Educator” letter highlighting its interpretation

of Title IX as explained in the NOI. Compl., Ex. C, R. 1-4, Page ID # 71-

72. The letter noted that, consistent with the NOI, Education “will fully

enforce Title IX to prohibit discrimination based on sexual orientation


     2 In October 2022, a federal district court issued a final judgment
declaring this document unlawful, vacating it, and setting it aside in
Texas v. EEOC, No. 2:21-CV-194-Z, 2022 WL 4835346 (N.D. Tex. Oct. 1,
2022). In light of that now-final ruling, there is no longer a live
controversy regarding whether this document is valid, and the district
court no longer has jurisdiction over the States’ claims against EEOC.
This Court should therefore vacate the preliminary injunction as to
EEOC and remand with instructions to dismiss the States’ claims against
EEOC as moot.
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and gender identity in education programs and activities that receive

Federal financial assistance from [Education].”         Id.    The letter was

accompanied by a fact sheet jointly issued by Education and DOJ that

provided examples of the types of incidents those agencies can investigate

under Title IX, as well as information on how to file complaints. Id., R.

1-4, Page ID # 73-74.

     C.    District Court Proceedings

     In August 2021, 20 States filed suit challenging Education’s and

EEOC’s respective informational documents and subsequently filed a

motion for preliminary injunction asking the court to enjoin the agencies

from enforcing those documents. See Compl., R. 1, Page ID # 33-34. On

July 15, 2022, the district court denied the agencies’ motion to dismiss

and issued a preliminary injunction, prohibiting Education, EEOC, and

DOJ from “implementing” the challenged documents against the States.

Op. 46, R. 86, Page ID # 1987.3

     1.    The district court first considered and rejected a number of

threshold challenges to the States’ suit. The court held that the States



     The States also named DOJ as a defendant because one of the
     3

documents challenged was a joint fact sheet issued by Education and
DOJ.
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had established Article III standing because they had alleged a

cognizable injury to their “sovereign interest in the ‘power to create and

enforce a legal code.’” Op. 11, R. 86, Page ID # 1952 (quoting Alfred L.

Snapp & Son v. Puerto Rico, 458 U.S. 592, 601-602 (1982)). In particular,

the court held that the “interpretations of Titles VII and IX” expressed in

the challenged documents “directly interfere with and threaten [the

States’] ability to enforce their state laws as written,” noting that 10 of

the States identified laws that “arguably conflict with Defendants’

guidance as to the legality of certain conduct related to sexual orientation

and gender identity.” Op. 12, R. 86, Page ID # 1953.

     The district court next held that the challenged documents

constitute final agency action reviewable under the APA. Although the

documents state that they do not control the outcome on any particular

set of facts, the court concluded that the documents were final agency

action. As to Education, the court held that the documents were final

because they will “dictate[] how [Education] will enforce Title IX going

forward and require[] [Education] to investigate and pursue enforcement

action against regulated entities, including [the States], when

discrimination based on sexual orientation and gender identity is


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alleged.” Op. 28, R. 86, Page ID # 1969. And the court held that EEOC’s

document is final because it “takes firm positions regarding what Title

VII demands of employers” and “invites” individuals to file charges if they

believe their rights were violated. Op. 30, R. 86, Page ID # 1971. The

court also held that the documents expanded the scope of Title VII and

Title IX’s anti-discrimination protections in a way that carries legal

consequences for employers and educators. Id.

     In addition, the district court rejected the government’s arguments

(1) that the States have an adequate remedy in a future enforcement

proceeding, which would preclude APA review under 5 U.S.C. § 704, and

(2) that the administrative enforcement scheme in Title IX, 20 U.S.C.

§§ 1682-1683, precludes pre-enforcement challenges under Thunder

Basin Coal Co. v. Reich, 510 U.S. 200, 207 (1994). Op. 32-34, R. 86, Page

ID # 1976-1978.

     2.    The district court then turned to the elements necessary to

obtain a preliminary injunction. The court first held that the States were

likely to succeed on the merits of their claim that the challenged

documents are invalid because they are legislative rules that were

promulgated without notice and comment.             In so holding, the court


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concluded that the various informational documents are legislative rules

because they went beyond the holding of Bostock and expressed the

agencies’ views on various questions that the Supreme Court expressly

left open. Op. 42, R. 86, Page ID # 1983. As to Title IX, the court held

that Education “improperly expand[ed] the reach of Bostock” because

“‘the Court in Bostock was clear’” that it did not prejudge whether its

holding would also apply to other anti-discrimination provisions. Op. 40-

41, R. 86, Page ID # 1981-1982 (quoting Pelcha v. MW Bancorp, Inc., 988

F.3d 318, 324 (6th Cir. 2021)). As to Title VII, the court held that EEOC

also went “beyond the holding of Bostock” because the Court in Bostock

declined to “prejudge” how its holding would apply to “‘sex-segregated

bathrooms, locker rooms, and dress codes.’” Op. 42, R. 86, Page ID # 1983

(quoting Bostock, 140 S. Ct. at 1753). Having found the States were likely

to succeed on their notice-and-comment claim, the district court declined

to consider the States’ other claims.

     The district court next found that the remaining equitable factors

favored a preliminary injunction. The court concluded that the States

faced irreparable harm to their sovereign interests absent an injunction

because several of the States have laws that arguably conflict with the


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challenged documents, which imposed pressure on the States to alter

their laws. Op. 43-44, R. 86, Page ID # 1984-1985. On the other side of

the ledger, the court found that any harm to the federal government

associated with the injunction was outweighed by the harms to the States

and found that the public interest lies in the correct “application of the

law” and strict adherence to the APA’s requirements. Op. 45-46, R. 86,

Page ID # 1985-1987.

     Having found that the requirements for a preliminary injunction

were satisfied, the district court enjoined the agencies “from

implementing the [challenged documents] against [the States].” Op. 46,

R. 86, Page ID # 1987. However, the court expressly declined to issue a

nationwide injunction and clarified that its injunction “should only apply

to [the plaintiff States].” Op. 46 n.18, R. 86, Page ID # 1987.

     3.    After the district court issued its decision, the United States

filed a “notice of compliance” outlining the conduct the agencies believed

was prohibited and the conduct that the agencies believed was still

permissible. The notice explained that “Defendants understand that

they have been enjoined from implementing the specific challenged

documents against the 20 Plaintiff States.” Notice 2, R. 97, Page ID


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# 2058.   The agencies therefore explained that they “will not cite,

reference, treat as binding, or otherwise rely upon the challenged

documents in any investigations of claims or enforcement or

administrative actions, if there are any, against [the States].” Id. The

notice explained, however, that the government does not understand the

injunction to prevent the agencies from enforcing Title VII and Title IX

against the States generally and that the agencies will continue to

investigate any claims brought against the States and “will support their

investigations, enforcement, or administrative actions against [the

States] (assuming there are any) with statutory text, implementing

regulations, case law, and the specific facts and circumstances of each

case.” Id. The notice concluded that “Defendants believe that their

understanding of the scope of the Court’s injunction as presented in this

[n]otice, absent further direction, is consistent with the Court’s

injunction and its decision to enjoin the guidance documents.” Notice 3,

R. 97, Page ID # 2059.       The States filed a response to the notice

advocating for a broader view of the injunction. Response to Notice, R.

98, Page ID # 2398-2406. To date, the district court has not issued

further direction in response to the United States’ notice.


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                     SUMMARY OF ARGUMENT

     1.    The district court erred in holding that the States have

established a cognizable Article III injury to their sovereign interest in

enacting and enforcing state law. States can establish standing based on

injuries to sovereign interests only when those injuries—like all Article

III injuries—are sufficiently direct and concrete. Here, the challenged

documents do not prevent the States from enacting or enforcing any laws.

Thus, the States allege only that there is an arguable inconsistency

between certain applications of a few state laws and the understanding

of Titles VII and IX expressed in the agency documents. That kind of

indirect tension is insufficient to create standing. And even if the States’

theory of sovereign injury were viable, the States still lack standing

because they cannot show that any tension between state laws and Titles

VII and IX is caused by the challenged documents (as opposed to the

underlying anti-discrimination prohibitions in the statutes themselves)

or redressable by an injunction against those documents.

     Nor can the States establish standing based on the fact that they

are covered by Title VII (in their roles as employers) and Title IX (in their

roles as educators). Pre-enforcement standing is the exception, not the


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norm. Here, the States cannot show that any enforcement action against

them is sufficiently imminent to create a concrete injury. And again,

even if the States could establish injury, they cannot show that any

threat of future enforcement is caused by the challenged documents

themselves or that enjoining the “implementation” of the documents

would redress the States’ hypothetical future injuries by preventing the

agencies from enforcing the statutes themselves.

     2.    Aside from standing, there are at least three additional

threshold barriers to judicial review of the States’ challenge to the

agencies’ informational documents. First, those documents are not “final

agency action” within the meaning of the APA. To constitute final agency

action, this Court has made clear that the action must have immediate

and direct legal effect, such as imposing liability on a regulated party,

creating legal rights, or mandating a certain result in a future

proceeding. The challenged documents do nothing of the sort. These

educational documents only inform the public of the agencies’

interpretations of Titles VII and IX following the Supreme Court’s

decision in Bostock. The documents do not create any rights, they are not

enforceable in any way, and they preserve the discretion of both agencies


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to decide whether particular conduct constitutes unlawful discrimination

on a case-by-case basis.

     Second, the States have an adequate alternative remedy that

forecloses APA review of their pre-enforcement challenge to these agency

documents. If either the agencies or an individual attempt to enforce

Title VII or Title IX against the States based on the interpretations

summarized in the documents, the States would be able, at that time, to

present any available defenses, including by challenging the agencies

interpretations.

     Finally, the States’ challenge to Education’s documents is

independently barred under Thunder Basin Coal Co. v. Reich, 510 U.S.

200 (1994), because Congress provided an elaborate procedural scheme

for administrative enforcement proceedings that culminate in the

opportunity for judicial review. See 20 U.S.C. § 1682 (administrative

process); id. § 1683 (judicial review).        That comprehensive scheme

demonstrates that Congress did not intend for pre-enforcement judicial

review of Title IX claims.

     3.    Even if the States’ claims are reviewable, the district court

abused its discretion by granting a preliminary injunction because the


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States failed to make the necessary showing that they have both a

substantial likelihood of success on the merits of their APA notice-and-

comment claim and that the remaining injunctive factors weigh in favor

of preliminary relief.

     a.    On the merits, it is uncontested that notice and comment are

only required for legislative rulemakings that, once completed, will have

the force and effect of law.     But the challenged documents are not

legislative rules. They have no independent legal effect; they merely

explain the agencies’ interpretations of the statutory schemes they are

entrusted to enforce. The district court erred in concluding that any

agency statement that expresses a view of the law more nuanced or

detailed than what is strictly compelled by the text of the statute, as

interpreted by binding precedent, is a legislative rule. Interpretive rules

are most useful where, as here, there is uncertainty about the precise

meaning of a statutory prohibition. Announcing to the public how the

agency plans to navigate that uncertainty does not constitute legislative

rulemaking. In any event, the district court’s reasoning was wrong even

on its own terms, as binding precedent from this Circuit compels or at




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least strongly supports all of the views expressed in the challenged

documents.

     b.    The States also failed to show irreparable harm or that the

balance of equities weighs in favor of a preliminary injunction here. For

many of the same reasons the States have not established injury in fact,

these informational documents cause the States no irreparable harm.

And on the other side of the ledger, both the public and the United States

have significant interests in allowing the agencies to educate the public

about the meaning of Title VII and Title IX. An injunction that prevents

the agencies from educating the public about the government’s

understanding of those statutes is not in the public interest as it will only

sow confusion and uncertainty.

     c.    Finally, even if a preliminary injunction were appropriate, the

injunction that the district court granted is overbroad. The plaintiff

States include numerous states that did not identify any state laws that

even arguably conflict with the challenged documents. Those States

experience no irreparable harm pending final resolution of this lawsuit,

and the district court abused its discretion in nevertheless awarding

those States preliminary injunctive relief.


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     In addition, the district court abused its discretion in issuing

injunctive relief covering States where the positions expressed in the

agency documents are supported by binding precedent in the court of

appeals in which the state is located. For those States, the district court’s

injunction reaches outside of its jurisdiction and causes substantial

interference with the authority of other federal courts.

                          STANDARD OF REVIEW

     This Court reviews questions of standing de novo. Universal Life

Church Monastery Storehouse v. Nabors, 35 F.4th 1021, 1031 (6th Cir.

2022). In reviewing a district court’s decision to grant a preliminary

injunction, this Court reviews the question whether the movant is likely

to succeed on the merits de novo. See City of Pontiac Retired Emps. Ass’n

v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014) (en banc) (per curiam).

The district court’s ultimate determination as to whether the preliminary

injunction factors weigh in favor of granting a preliminary injunction is

reviewed for abuse of discretion. Id.

                               ARGUMENT

I.   The States Lack Standing.

     “The law of Art[icle] III standing is built on a single basic idea—the

idea of separation of powers.” TransUnion LLC v. Ramirez, 141 S. Ct.
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2190, 2203 (2021) (quotation omitted). “Under Article III, federal courts

do not adjudicate hypothetical or abstract disputes” and “do not exercise

general legal oversight of the Legislative and Executive Branches.” Id.

Instead, to establish standing, a plaintiff must prove that (1) it has

“suffered an injury in fact—an invasion of a legally protected interest

which is (a) concrete and particularized[,] and (b) actual or imminent, not

conjectural or hypothetical,” (2) the injury is “fairly traceable to the

challenged action of the defendant, and not the result of the independent

action of some third party not before the court,” and (3) it is “likely, as

opposed to merely speculative, that the injury will be redressed by a

favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-561

(1992) (cleaned up).

     Standing is particularly difficult to establish in a pre-enforcement

challenge like this one. There is no “unqualified right to pre-enforcement

review,” even for claims raising fundamental constitutional rights.

Whole Woman’s Health v. Jackson, 142 S. Ct. 522, 537-538 (2021).

Instead, many statutory and constitutional rights “are as a practical

matter asserted typically as defenses,” not in “pre-enforcement cases.”

Id. at 538. That is because even in cases raising important rights, courts


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may not “disregard the traditional limits on the jurisdiction of federal

courts just to see a favored result win the day.” Id.

     1.      The district court held that the States established standing

here based on a supposed injury to their sovereign interest in creating

and enforcing a legal code. Op. 10-12, R. 86., Page ID # 1951-1953. That

was error.

     To start, the district court wrongly applied cases recognizing that

states are sometimes entitled to “special solicitude” in the standing

analysis. Op. 10, R. 86, Page ID # 1951. Contrary to the district court’s

suggestion, see id., the mere fact that the plaintiffs here are states does

not entitle them to any special treatment in the standing analysis. To

the contrary, Article III’s “foundational standing requirements” apply to

“private and public litigants alike.” Arizona v. Biden, 40 F.4th 375, 385

(6th Cir. 2022). While the basic constitutional standing requirements

remain the same for all parties, “States sometimes are entitled to ‘special

solicitude’ in this area only because they may incur ‘quasi-sovereign’

injuries that private parties cannot.” Id. Thus, while “States may have

more theories of injury available to them, that does not allow them to

bypass proof of injury in particular or Article III in general.” Id. at 386.


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     The question, then, is whether the States here adequately alleged

an injury to some “quasi-sovereign” interest. They have not. This Court

and the Supreme Court have repeatedly differentiated between two kinds

of sovereign injuries—concrete, actual invasions of sovereign interests

(sufficient to confer standing) and abstract questions of political or policy

disagreement (insufficient to confer standing). This case clearly falls into

the latter camp.

     The States here alleged that the challenged documents impinge on

their sovereign interest to create and enforce a legal code. See Compl.

¶¶ 98-99, R. 1, Page ID # 18-20. In support of that claim, the States

pointed to a handful of laws enacted by a few of the States that appear to

contemplate or authorize differential treatment based on sex assigned at

birth in public education, and therefore “at least arguably conflict with”

Education’s informational documents. Id. And the States cite laws from

two states that allow employers to provide sex-segregated bathrooms and

dressing rooms. Compl. ¶ 99, R. 1, Page ID # 20 (listing laws from




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Oklahoma and West Virginia).4 The district court concluded that the

challenged documents “arguably conflict” with those state laws. Op. 11-

12, R. 86, Page ID # 1952-1953. And on that basis, the court held that

the States had established that the documents interfered with the States’

sovereignty in a way sufficient to establish an Article III injury. Op. 12,

R. 86, Page ID # 1953.

     The district court erred in concluding that such indirect and

“arguable” conflicts between the challenged documents and a handful of

state laws are sufficient to confer standing to maintain a pre-enforcement

challenge. The agencies’ views do not prevent the States from enacting

or enforcing their laws, and the documents do not (and cannot) preempt


     4 The majority of the provisions the States cite in their complaint
appear to have nothing to do with the challenged documents. For
example, Tennessee cites one law that protects students’ rights to
“[e]xpress religious viewpoints in a public school” and another stating
that Tennessee is “committed to giving students the broadest possible
latitude to speak, write, listen, challenge, learn, and discuss any issue”
and that “no faculty will face adverse employment action for classroom
speech.” Compl. ¶ 98, R. 1, Page ID # 18-19. The States also cite several
laws that generally allow for sex-separated locker rooms and bathrooms
with no indication how these laws should apply to people who are
transgender. See Compl. ¶¶ 98-99, R. 1, Page ID # 18-20. And the States
cite a number of laws that generally protect religious liberty in the
workplace or at institutions of higher education. Id. Neither the States
nor the district court ever explained how the challenged documents call
into question or conflict with any of those provisions.
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any state law. Nor do the documents themselves prohibit any conduct.

The documents make clear that they are merely expressing the agencies’

understanding of the prohibitions against sex discrimination in Title VII

and Title IX—prohibitions that this Court and others have held

encompass discrimination against transgender people. See EEOC v. R.G.

& G.R. Harris Funeral Homes, Inc., 884 F.3d 560, 577 (6th Cir. 2018)

(holding that Title VII both “protects transgender persons because of

their transgender or transitioning status” and prohibits discrimination

against transgender people based on application of sex-specific policies

based on sex assigned at birth); Dodds v. U.S. Dep’t of Educ., 845 F.3d

217, 221-222 (6th Cir. 2016) (per curiam) (holding that school district that

sought to exclude transgender girl from girls’ restroom was not likely to

succeed on the claim because Title IX prohibits discrimination based on

sex stereotyping and gender nonconformity); see also Grimm v.

Gloucester Cty. Sch. Bd., 972 F.3d 586, 616 (4th Cir. 2020), as amended

(Aug. 28, 2020), reh’g en banc denied, 976 F.3d 399 (4th Cir.), cert. denied,

141 S. Ct. 2878 (2021); Whitaker ex rel. Whitaker v. Kenosha Unified Sch.

Dist. No. 1 Bd. of Educ., 858 F.3d 1034 (7th Cir. 2017).




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     Moreover, the documents do not purport to prejudge any particular

case. See infra p. 37. Nor do they indicate that sex-separated bathrooms,

dress codes, or sports teams are per se unlawful under Title VII or Title

IX. Instead, the documents explain the agencies’ views that particular

applications of those kinds of policies can, in some circumstances, provide

the basis for a viable sex discrimination claim. Thus, the States’ claim of

injury boils down to a contention that the documents indicate that the

agencies may view certain conduct that is arguably allowed under certain

state laws to constitute unlawful discrimination under federal law.

     Contrary to the district court’s holding, that kind of potential

“conflict between … state laws” and non-binding agency documents, Op.

12, R. 86, Page ID # 1953, is not the kind of concrete, actual invasion of a

sovereign interest sufficient to confer standing.         This Court’s recent

decision in Arizona v. Biden, 40 F.4th 375 (6th Cir. 2022), is instructive.

There, the Court explained that the “special solicitude” that states enjoy

in establishing standing is limited to cases where the state asserts

certain direct injuries to concrete sovereign interests. As in this case, the

states in Arizona did “not protest regulation of them as States or

preemption of local lawmaking authority.” 40 F.4th at 386. And they did


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“not involve the ‘classic’ sovereign case, ‘public nuisances,’ in which a

State invokes a desire ‘to safeguard its domain and its health, comfort

and welfare.’”   Id.   Instead, in Arizona (as here) the States merely

complained of “indirect” burdens that allegedly “flow[] from the

[challenged] [g]uidance.” Id. As this Court explained, those kinds of

injuries are not the kind of sovereign injuries that can confer standing.

     The Supreme Court has similarly held that states cannot establish

injury by raising “abstract questions ... of sovereignty” and explained that

a state’s “naked contention that Congress has usurped the reserved

powers of the several States by the mere enactment of the statute” is

insufficient to establish an Article III case or controversy. Massachusetts

v. Mellon, 262 U.S. 447, 483, 485 (1923). Instead, states must allege that

a sovereign interest was “actually invaded or threatened” by the

challenged federal action. Id. at 485. Otherwise, states would be able to

bring claims that present only “abstract questions of political power, of

sovereignty, of government,” which federal courts cannot adjudicate. Id.

     In holding that the States here nevertheless alleged a sufficiently

concrete harm to a sovereign interest, the district court relied on

inapposite case law. Op. 11 & n.7, R. 86, Page ID # 1952. For example,


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the court cited Cameron v. EMW Women’s Surgical Center, P.S.C., 142 S.

Ct. 1002 (2022), for the proposition that “a [s]tate ‘clearly has a legitimate

interest in the continued enforceability of its own statutes,’” and “a

[s]tate’s opportunity to defend its laws in federal court should not be

lightly cut off.” Id. at 1011. But that case involved a lawsuit challenging

the legality of a state law that a federal court had already held was

unconstitutional. See id. at 1107. Other cases cited by the court are

likewise distinguishable. Some involve challenges brought by states to

the facial legality of a federal law or regulation, e.g., Colorado v. Toll, 268

U.S. 228 (1925), or a challenge to a federal statute that expressly

preempted certain state laws, e.g., Ohio ex rel. Celebreeze v. U.S. Dep’t of

Transp., 766 F.2d 228 (6th Cir. 1985), or a challenge to a federal statute

that would cause some direct financial harm to the state unless the state

changed its laws, e.g., Texas v. United States, 787 F.3d 733 (5th Cir.

2015).

      The more direct and concrete harms at issue in those cases only

serve to underscore the novelty of the States’ standing theory here. An

“arguable conflict” with scattered state laws provides no basis for a pre-

enforcement challenge to non-binding informational documents issued by


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federal agencies charged with enforcing federal anti-discrimination

statutes. Rather, the proper course is to wait to see whether any actual

conflict ever arises between federal and state law and to litigate about

any such conflict when it presents itself in the context of a specific

enforcement proceeding. Here, no one questions the facial legitimacy of

the underlying federal statutes at issue and no federal law or regulation

has been claimed to preempt or render unlawful these state statutes. If

the federal government were to take the position that any of these state

laws are preempted or otherwise seek to render them invalid in some

future litigation for any reason, the States would of course be free to raise

any defense they wish at that time.

     Under Article III, courts may not entertain preemptive declaratory

litigation based upon hypothetical future conflicts between federal and

state laws; they must instead wait until particular applications of specific

state laws are alleged to violate Title VII or Title IX. At that stage, the

States can assert all of the arguments they raise here in a defensive

posture.    See Whole Woman’s Health, 142 S. Ct. at 538 (even very

important rights are, “as a practical matter,” usually “asserted … as

defenses,” not in “pre-enforcement cases”).           Indeed, this is already


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happening: Since this litigation began, plaintiffs West Virginia and

Indiana have both faced private, as-applied challenges to their treatment

of transgender students under Title IX and/or the Equal Protection

Clause and (unsuccessfully) raised arguments about whether Title IX

prohibits discrimination against transgender people in that litigation.

See A.M. ex rel. E.M. v. Indianapolis Pub. Sch., 2022 WL 2951430 (S.D.

Ind. July 26, 2022) appeal docketed, No. 22-2332 (7th Cir. July 27, 2022)

(Indiana school district preliminary enjoined from excluding transgender

girl from participating in girls’ softball team); B.P.J. v. West Virginia

State Bd. of Educ., 550 F. Supp. 3d 347 (S.D. W. Va. 2021) (similar). The

States’ attempt to short-circuit that kind of individual, case-by-case

litigation by asserting nebulous injuries to vague sovereign interests

should be rejected.

     The possibility of future enforcement actions under Title VII or

Title IX based on the same interpretations expressed in the challenged

documents highlights another problem with the States’ sovereign

standing theory: Even assuming the States have alleged a viable injury

to their sovereign interest, that injury is neither caused by the documents

nor redressable by an injunction prohibiting the agencies from


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implementing them. See R.K. by and through J.K. v. Lee, __ F.4th __,

2022 WL 17076105, *2-4 (6th Cir. Nov. 18, 2022); Midwest Media Prop.,

LLC v. Symmes Township, 503 F.3d 456, 461 (6th Cir. 2007).              Any

inconsistency between the States’ laws and federal anti-discrimination

laws derives from those anti-discrimination laws themselves (as

interpreted by the federal courts). As discussed in more detail below, see

infra pp. 36-39, the documents—which merely summarize the agencies’

understanding of those laws after Bostock—do not expand those anti-

discrimination laws or create new rights or obligations. Thus, the States

will continue to experience exactly the same alleged “arguabl[e] conflict,”

Op. 12, R. 86, Page ID # 1953, between their laws and federal law even if

the challenged documents are enjoined.

     2.    While not addressed by the district court, the States also

cannot establish standing based on the possibility that, at some point in

the future, they might face an enforcement action under Title VII or Title

IX in their capacity as employers or educators.5 Where a plaintiff seeks


     5  The States raised this theory of standing in district court, but
(correctly) acknowledged at oral argument that it was a weaker, less-
direct theory of injury. See Op. 11, R. 86, Page ID # 1952 (noting the
States “represented” at oral argument that “the alleged injury to their
sovereign interests” was their stronger standing argument).
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prospective relief based on the possibility of future injury, the

“threatened injury must be certainly impending to constitute injury in

fact.” Clapper v. Amnesty International USA, 568 U.S. 398, 409 (2013)

(quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)).                Mere

“[a]llegations of possible future injury are not sufficient.” Id. (alteration

in original) (emphasis omitted) (quoting Whitmore, 495 U.S. at 158). Put

another way, the prospect of enforcing a statute against the plaintiff

must be “sufficiently imminent” to create a concrete injury. Platt v.

Board of Comm’rs on Grievances & Discipline of Ohio Supreme Court,

769 F.3d 447, 451 (6th Cir. 2014) (quoting Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 159 (2014)). A “theory of standing[] [that] relies

on a highly attenuated chain of possibilities[] does not satisfy” this

requirement. Clapper, 568 U.S. at 410.

     Here, the States have not established any threat of government

enforcement against them that is “actual or imminent.” The States’

theory of injury involves many steps between the issuance of EEOC’s

technical assistance document (which only summarizes established

agency positions) and the initiation of any enforcement proceeding under

Title VII by DOJ. The employer must first engage in conduct that is


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impermissible under EEOC’s interpretation of Title VII. A victim of

discrimination must then file a charge with EEOC.               See 42 U.S.C.

§ 2000e-5(f)(1). EEOC must then investigate the charge. See id. If

EEOC finds reasonable cause to believe that discrimination has occurred,

it must “endeavor to eliminate any such alleged … employment practice

by informal methods of conference, conciliation, and persuasion.” Id.

§ 2000e-5(b).   And even if that fails, EEOC cannot itself bring an

enforcement action against the state; rather, it can at most refer the

matter to DOJ. Id. § 2000e-5(f)(1). DOJ must then decide whether to

bring an action itself or instead issue a right-to-sue notice to the private

individual. Id. Layered on top of all those steps, the question whether

any particular employment action will ultimately be deemed to be

unlawful discrimination is a deeply fact-intensive inquiry that is difficult

to assess ex ante. See White v. Baxter Healthcare Corp., 533 F.3d 381,

391 (6th Cir. 2008) (discussing fact-intensive McDonnell Douglas burden-

shifting framework for evaluating Title VII discrimination claims).

     Any theory of pre-enforcement injury based on the issuance of

Education’s documents is similarly protracted and speculative.           The

recipient of federal funds must first engage in conduct that would be


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forbidden by Title IX, as interpreted by Education. Education must then

decide to initiate an investigation, which it usually does in response to a

complaint from a private party. See 34 C.F.R. § 100.7(b)-(c). If the

investigation indicates noncompliance, Education will then attempt to

secure voluntary compliance through informal means.                      See id.

§ 100.7(d)(1). If that fails, Education issues a written finding that the

funding recipient is in violation of Title IX. Id. If the funding recipient

still does not comply voluntarily, Education will either refer the matter

to DOJ or else commence administrative proceedings to terminate federal

funding. See 34 C.F.R. § 100.8(a). And again, all of those steps are

rendered even more indefinite by the inherently fact-intensive nature of

Title IX’s anti-discrimination prohibition. See Ivan v. Kent State Univ.,

92 F.3d 1185 (6th Cir. 1996) (per curiam) (table) (adopting fact-intensive

framework for cases involving allegations of gender discrimination by an

educational institution in violation of Title IX).

     In short, the threat of a future enforcement action is far too

speculative and attenuated to confer standing at this juncture. Any

injury to the States is not actual or imminent because the occurrence of

the injury depends “on a speculative chain of possibilities.” Clapper, 568


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U.S. at 410. Furthermore, that theory of injury requires “guesswork as

to how independent decisionmakers [e.g., private parties aggrieved by

discrimination] will exercise their judgment.” Id. at 413.

     The States’ threat-of-enforcement standing theory also suffers from

the same traceability and redressability problems as their sovereign-

injury theory: Any injury associated with the possibility of future

enforcement is not traceable to these informational documents and would

not be redressed by judicial relief directed at those documents. See R.K.,

2022 WL 17076105, at *3 (“To satisfy the redressability element of

standing, the plaintiff must show that it is ‘likely, as opposed to merely

speculative, that the injury will be redressed by a favorable decision.’”

(quoting Lujan, 504 U.S. at 561)). The documents are not substantive

regulations; they do not have the force or effect of law and do not

themselves impose any legal obligations on the plaintiff States or on any

other regulated party. See infra pp. 36-39, 49-51. The requirements to

which the States object are traceable to Titles VII and IX, not to the

challenged documents. And even if a court sets aside or enjoins the

implementation of these documents, the federal government (and, for

that matter, private parties) could still enforce Titles VII and IX against


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the States.      Indeed, at least two of the States have already had

preliminary injunctions issued against them in private, as-applied Title

IX or constitutional challenges to their laws’ treatment of transgender

students. See A.M. by E.M., 2022 WL 2951430; B.P.J., 550 F. Supp. 3d

347.   Tellingly, those courts did not rely on (or even reference) the

Education documents in holding that the States’ actions were unlawful.

II.    The States’ Claims Are Not Reviewable.

       A.    The Challenged Documents Are Not Final Agency
             Action.

       Judicial review under the APA is generally limited to “final agency

action.”     5 U.S.C. § 704.       Such action must (1) represent “the

consummation of the agency’s decisionmaking process,” and (2)

conclusively determine legal “rights or obligations.” Bennett v. Spear, 520

U.S. 154, 178 (1997) (quotations omitted). Even assuming that these

documents reflect the consummation of the agency’s views about how

best to read Title VII and Title IX, the challenged documents do not

satisfy the second prong of the Bennett test.

       As this Court has explained, in order to satisfy that second prong

the agency action must “‘impose liability’ on a regulated party, create

legal rights, or ‘mandate, bind, or limit other government actors’ in the

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future.”   Arizona, 40 F.4th at 387.       Here, numerous features of the

challenged documents confirm that they do no such thing. As this Court

has noted, it is helpful to “[s]tart with” what the documents actually say.

Id. EEOC’s document is called a “technical assistance document,” and

Education’s documents are called an “interpretation” and a “fact sheet.”

See Compl., Ex. A, R. 1-2, Page ID # 42 (“interpretation”); Compl. Ex. C,

R. 1-4, Page ID # 72-73 (“fact sheet” or “Resource for Students and

Families”); Compl. Ex. D, R. 1-5, Page ID # 76 (“technical assistance

document”). Those labels “do not evoke binding legal effect.” Arizona, 40

F.4th at 387.    “Consistent with [those] label[s],” the documents each

expressly state that they do not have any independent legal effect. Id.;

see Compl., Ex. A, R. 1-2, Page ID # 42 (Education’s NOI “does not itself

determine the outcome in any particular case or set of facts.”); Compl. Ex.

C, R. 1-4, Page ID # 73 (listing scenarios that Education “can investigate”

without purporting to determine an outcome of any such investigation);

Compl. Ex. D, R. 1-5, PageID # 77-78 (EEOC’s document does “not have

the force and effect of law and is not meant to bind the public in any

way”).




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      Instead, the documents each make clear that they are intended only

to reflect the agencies’ views about how best to read Title VII and Title

IX’s prohibitions against sex discrimination. See Compl., Ex. A, R. 1-2,

Page ID # 42-44; Compl. Ex. C, R. 1-4, Page ID # 71; Compl. Ex. D, R. 1-

5, Page ID # 77-79. In other words, the challenged documents “create[]

no new legal obligations beyond those the [statute] already imposed.”

Rhea Lana, Inc. v. Department of Labor, 824 F.3d 1023, 1028 (D.C. Cir.

2016); see also Arizona, 40 F.4th at 478. They simply inform the public

of the agencies’ interpretation of Titles VII and IX, without purporting to

alter those obligations in any way. And the documents do not bind the

agency or anyone else to reach a particular conclusion on any facts.

Indeed, the challenged documents expressly state that they are non-

binding. See Cement Kiln Recycling Coal. v. EPA, 493 F.3d 207, 228 (D.C.

Cir. 2007) (noting that non-binding disclaimers are “relevant to the

conclusion that a guidance document is non-binding”). “Confirming that

the [documents] lack[] legal effect is the reality that it is difficult to see

how” anyone “could invoke [them] to establish legal protection.” Arizona,

40 F.4th at 389. These are all “telltale signs” of nonreviewable agency




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statements designed to educate and provide notice, “not of reviewable

final agency action.” Id. at 388.

     Here, there is no need to guess about whether the “practical results

of [the] agenc[ies’] action[s]” have had the requisite “immediate and

significant” legal consequences necessary to constitute final agency

action. Parsons v. U.S. Dep’t of Justice, 878 F.3d 162, 168 (6th Cir. 2017).

These documents were issued in June 2021 and were not preliminarily

enjoined by the district court until July 2022. Yet the States suffered no

“immediate and significant” legal consequences as a result of the

challenged documents during that intervening year. Id. Indeed, while

two of the States have had preliminary injunctions entered against them

in lawsuits challenging their discriminatory treatment of transgender

students since these documents issued, see A.M. by E.M., 2022 WL

2951430 (Indiana); B.P.J., 550 F. Supp. 3d at 347 (West Virginia), neither

of those decisions relied upon or even mentioned the documents.

     In nevertheless holding that these documents determine legal

“rights or obligations,” the district court focused primarily on the effects

these documents might have on third parties in future, hypothetical

agency actions—including private citizens considering whether to bring


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discrimination complaints and the agency employees who would evaluate

those individual allegations. Op. 27-29, R. 86, Page ID # 1968-1971. But

this Court has repeatedly cautioned that “harms caused by agency

decisions are not legal consequences if they stem from independent

actions taken by third parties.” Parsons, 878 F.3d at 168 (6th Cir. 2017)

(quotation omitted); see also Arizona, 40 F.4th at 388.

      That is true even where the third parties are agency officials who

exercise their discretion in reliance on agency guidance. Even in those

circumstances the agency officials’ “actions are not direct consequences”

of the guidance but are instead “the product of independent agency

decisionmaking.” Parsons, 878 F.3d at 168, 170 (quoting Flue-Cured

Tobacco Coop. Stabilization Corp v. U.S. EPA, 313 F.3d 852, 860 (4th Cir.

2002)). Thus, this Court has held that agency action is not final if it “‘does

not of itself adversely affect [a] complainant but only affects his rights

adversely on the contingency of future administrative action.’” Jama v.

Dep’t of Homeland Sec., 760 F.3d 490, 496 (6th Cir. 2014) (quoting

Rochester Tel. Corp. v. United States, 307 U.S. 125, 130 (1939)); see also

Arizona, 40 F.4th at 388.         That is exactly the case here.         The

informational documents issued by the agencies make clear that agency


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officials remain free to—and indeed must—exercise their individual

judgment on a case-by-case basis. See, Compl., Ex. A, R. 1-2, Page ID

# 42; Compl. Ex. C, R. 1-4, Page ID # 73; Compl. Ex. D, R. 1-5, Page ID

# 77-78. And as noted above, multiple layers of third-party action and

discretion stand between the States and any potential enforcement action

under Title VII or Title IX. See supra pp. 32-34. In other words, the

relevant “final agency actions” here are the culmination of potential

agency enforcement actions that have yet to occur. The APA requires

plaintiffs to wait until those “final agency actions” come to pass

(assuming they ever do) before seeking judicial review.

     For similar reasons, the district court was wrong to suggest that

the challenged documents have any current legal effect because they

somehow coerce the States to change their conduct now by suggesting

that the agencies might consider certain conduct to violate federal anti-

discrimination laws in the future. See Op. 28-30, R. 86, Page ID # 1969-

1971. This Court has held that those kinds of “coercive pressures” are

not “legal consequences” for purposes of assessing final agency action.

Parsons, 878 F.3d at 168 (quoting Flue-Cured Tobacco, 313 F.3d at 859).

And even if the informational documents’ “persuasive value” might


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encourage private parties to file claims alleging discrimination, “these

decisions are” likewise “attributable to independent responses and

choices of third parties” and cannot be said to “legally flow” from the

documents themselves. Id. (quoting Flue-Cured Tobacco, 313 F.3d at

861). In other words, “[h]arms resulting from a third-party’s independent

decision to rely upon” agency guidance “are not legal consequences of” the

guidance itself. Id. That the States may fear monetary consequences as

the result of some future enforcement action brought by the federal

government or some private party does not alter that conclusion. See Air

Brake Sys. Inc. v. Mineta, 357 F.3d 632, 645 (6th Cir. 2004) (cautioning

that “adverse economic effects accompany many forms of indisputably

non-final government action”).

     B.    The States Have an Adequate Alternative Remedy
           that Forecloses Pre-Enforcement Review Now.

     As this Court has long recognized, “[t]he APA does not express the

U.S. government’s consent to suit if an alternate adequate remedy is

available to review a final agency action.” Beamon v. Brown, 125 F.3d

965, 967 (6th Cir. 1997). The relief offered by the “alternat[e] remedy”

will “be deemed adequate ‘where a statute affords an opportunity for de

novo district-court review’ of the agency action.” Garcia v. Vilsak, 563

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F.3d 519, 522-523 (D.C. Cir. 2009). That standard is met here: in any

enforcement action brought against a State based on the legal

interpretations   expressed   in   the    challenged         documents,   those

interpretations will be subject to de novo review by a court.

     Contrary to the district court’s holding, Op. 32-34, R.86,

PageID#1973-1975, this is not the rare case where the plaintiffs can

escape the no-adequate-remedy requirement by showing that the

alternative remedy would expose them to substantial penalties.              In

support of that holding, the district court relied on the Supreme Court’s

decision in Sackett v. EPA, 566 U.S. 120 (2012). Op. 32-33, R. 86, Page

ID # 1973-1974. There, the agency had issued a compliance order directly

to the plaintiffs informing them that their land was subject to certain

restrictions, that the compliance order represented the agency’s final

word on that matter, that the plaintiffs were therefore forbidden from

undertaking a proposed construction project, and that failure to comply

would result in significant penalties that would be measured from the

date of the compliance order. See Sackett, 566 at 124-125.

     This case is nothing like Sackett. As explained above, the States

face no immediate consequences from the challenged documents that


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would justify raising their arguments in a pre-enforcement challenge.

Supra Part II.A. The States have not even identified any specific action,

complaint, or ongoing investigation arising from the documents that is

likely to result in a determination that any state has violated Title VII or

Title IX. Nor do the challenged documents impose any other concrete,

immediate hardship on the States that would allow them to bypass the

normal rules of APA review. The documents do not themselves impose

any obligations or consequences on the States and do not exert any

pressure on the States beyond that which already flows directly from the

prohibitions against sex discrimination in Title VII and Title IX, as

interpreted by the Supreme Court, this Court, and other courts across

the country. See supra pp. 36-39; infra pp. 49-51.

     C.    The States’ Challenge to Education’s Documents
           is Independently Barred Under Thunder Basin.

     Where it is “fairly discernable” that an elaborate statutory review

scheme for administrative enforcement proceedings was intended to

create an exclusive remedy, parallel jurisdiction outside that scheme is

precluded. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 216

(1994) (quotation omitted). That rule is fatal to the States’ challenge to

Education’s Title IX guidance. Congress did not intend to permit pre-

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enforcement review of Title IX claims because it provided an elaborate

procedural scheme for administrative enforcement proceedings that

culminates in the opportunity for judicial review. See 20 U.S.C. § 1682

(administrative process); id. § 1683 (judicial review); Bowen v.

Massachusetts, 487 U.S. 879, 903 (1988) (“Congress did not intend the

general grant of review in the APA to duplicate existing procedures for

review of agency action.”).

     The district court held otherwise because it perceived a difference

between challenging the end result of an agency’s enforcement efforts

and the issuance of “rules and regulations” that govern those

enforcement efforts. Op. 36, R. 86, Page ID # 1977. That was error.

Under the district court’s reasoning, a party could always opt out of a

congressionally created administrative review scheme just by framing its

challenge at a higher level of generality. But that is exactly the kind of

argument that the Supreme Court rejected in Thunder Basin itself. In

that case, a mine operator brought a pre-enforcement challenge to an

agency’s interpretation of a statute, which could have formed the basis

for enforcement action against the operator.          See 510 U.S. at 216.

Confronted with a review process remarkably similar to that found in


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Title IX, the Court held that Congress’s intent to preclude pre-

enforcement judicial review was “fairly discernible in the statutory

scheme” under the Mine Act. Id. at 207 (citation omitted); see 30 U.S.C.

§ 801 et seq.   And the Court therefore rejected the mine operator’s

attempt to bring a pre-enforcement challenge to the agency’s

interpretation. See Thunder Basin, 510 U.S. at 207-208. The same result

is warranted here. Cf. Rogers v. Bennett, 873 F.2d 1387 (11th Cir. 1989)

(same result under the parallel disability rights statute); Taylor v. Cohen,

405 F.2d 277 (4th Cir. 1968) (same result under Title VI, parallel race

discrimination statute).

III. The District Court Erred by Granting a Preliminary
     Injunction.

     For all the reasons discussed above, the district court should not

have reached the preliminary injunction analysis at all because the

States lack standing and because their challenges to these documents are

not reviewable. If this Court rules in the government’s favor on those

questions, it should vacate the injunction and remand to the district court

with instructions to dismiss without reaching the merits of the

preliminary injunction analysis.      If, however, this Court reaches the



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merits of the preliminary injunction, it should find that the district court

erred in its analysis as to each element.

     “A preliminary injunction is an extraordinary and drastic remedy,”

Munaf v. Geren, 553 U.S. 674, 689-690 (2008) (quotation omitted), one

that should “only be awarded upon a clear showing that the plaintiff is

entitled to such relief,” Winter v. National Res. Def. Council, Inc., 555

U.S. 7, 22 (2008).    In determining whether to grant a preliminary

injunction, a district court must consider: “(1) whether the movant has a

strong likelihood of success on the merits; (2) whether the movant would

suffer irreparable injury absent the injunction; (3) whether the injunction

would cause substantial harm to others; and (4) whether the public

interest would be served by the issuance of an injunction.” Bays v. City

of Fairborn, 668 F.3d 814, 818-819 (6th Cir. 2012).

     A.    The States Have Not Shown a Likelihood of Success on
           Their Notice-and-Comment Claim.

     The district court erred in holding that the States demonstrated a

“strong likelihood of success,” Bays, 668 F.3d at 818, on their claim that

the challenged documents were procedurally deficient because they were

not issued through notice-and-comment rulemaking.



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     The       APA   provides    that        notice-and-comment       rulemaking

requirements do not apply to “[interpretive] rules, general statements of

policy, or rules of agency organization, procedure, or practice.” 5 U.S.C.

§ 553(b)(A).    Interpretive rules stand in contrast to legislative rules,

which must be issued through notice-and-comment rulemaking and (as

the name suggests) have the “force and effect of law” once enacted. Perez

v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015). “[T]he critical feature of

interpretive rules,” on the other hand, “is that they are ‘issued by an

agency to advise the public of the agency’s construction of the statutes

and rules which it administers.’” Id. at 97. An interpretive rule “simply

states what the administrative agency thinks the statute means.” First

Nat’l Bank of Lexington v. Sanders, 946 F.2d 1185, 1188 (6th Cir. 1991)

(per curiam) (quotation omitted). An agency that enforces “less than

crystalline” statutes must interpret them, “and it does the public a favor

if it announces the interpretation in advance of enforcement, whether the

announcement takes the form of a rule or of a policy statement, which

the [APA] assimilates to an interpretive rule.” Hoctor v. U.S. Dep’t of

Agric., 82 F.3d 165, 167 (7th Cir. 1996). So long as the underlying statute




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itself (or some other rule) continues to form the basis of the asserted

rights and obligations discussed in the rule, it is not a legislative rule.

     Assuming they are properly considered to be rules at all,6 the

challenged documents are paradigmatic examples of “interpretive rules”

that need not be subject to notice and comment. The documents are

expressly non-binding and do not purport to have the force or effect of

law. See supra pp. 36-39; see also Chrysler Corp. v. Brown, 441 U.S. 281,

302 (1979) (legislative rules “affect[] individual rights and obligations”

(quotation omitted)). Rather, they represent the agencies’ understanding

of the longstanding sex discrimination prohibitions contained in Titles

VII and IX and are merely intended to “advise the public of the agency’s

construction of the statutes and rules which it administers.” Shalala v.

Guernsey Mem’l Hosp., 514 U.S. 87, 99 (1995) (citation omitted). Viewed

a different way, if the United States were to bring an enforcement action


     6  The APA does not require notice and comment for agency
documents that are not rules. 5 U.S.C. § 553. “Rule” is defined to mean
“an agency statement of general or particular applicability and future
effect designed to implement, interpret, or prescribe law or policy or
describing the organization, procedure, or practice requirements of an
agency.” 5 U.S.C. § 551(4). Documents like EEOC’s technical assistance
document and Education’s Fact Sheet do not satisfy that definition and
were not required to go through notice and comment for that reason as
well.
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consistent with the legal interpretations espoused in the challenged

documents, it would rely on the underlying statutes themselves as the

basis for the action, not these documents. And the documents would not

be “accorded [the] weight [of law] in the adjudicatory process.” Perez, 575

U.S. at 97 (quotation omitted). Instead, it would be up to the court to

decide for itself whether the interpretation proposed by the agency is

valid and, if so, whether the evidence presented in a particular case

establishes that prohibited discrimination took place.

     Moreover, as explained in the notice of compliance the agencies

filed in district court, the underlying statutory requirements remain in

effect and the agencies continue to have “statutorily required

responsibilities” to investigate and (if appropriate) enforce those

requirements, including when faced with privately filed complaints

presenting these issues. See Notice 2-3, R. 97, Page ID # 2058-2059.

Regardless of whether the agencies are enjoined from “implementing”

these informational documents, private individuals remain free to file

complaints with the agencies based on the theory articulated in the

documents (or any other theory). And once filed, the agencies must

decide whether those theories comport with Title VII or Title IX. See 42


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U.S.C. § 2000e-5(f)(1) (Title VII); 20 U.S.C. § 1682 (Title IX); 34 C.F.R.

§ 100.7(c)-(d) (Title IX). Finally, even if the agencies do not decide to

pursue administrative enforcement themselves, individuals remain free

to file lawsuits.

      As the Eighth Circuit recently observed in considering an

injunction against a similar agency document, “[a]n injunction against

implementing [a HUD guidance memo]” would not stop the agency “from

investigating all complaints of sex discrimination against a college,

including complaints of discrimination because of gender identity or

sexual orientation.” School of the Ozarks v. Biden, 41 F.4th 992, 1001

(8th Cir. 2022). That is because “[e]ven if HUD were enjoined from

enforcing its internal directive, the agency would still be required by

statute to investigate sex discrimination complaints filed” and in doing

so “must consider the meaning of [the underlying anti-discrimination

statute] in light of Bostock and its interpretation of similar statutory

language.” Id.; see also Texas v. EEOC, 933 F.3d 433, 451 (5th Cir. 2019).

      In other words, there is no question that the agencies here will have

to determine what the respective statutes they are charged with

enforcing prohibit when read in light of the Supreme Court’s reasoning


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in Bostock and other relevant case law. And there is also no question

that federal courts will ultimately have the authority to decide (de novo)

whether the agencies’ interpretations of the statutes are correct and

whether the conduct of a given defendant constitutes sex discrimination

under those interpretations. The only question is whether the agencies

will “advise the public of [their] construction of the statutes and rules

which [they] administer[]” ahead of time, Perez, 575 U.S. at 97 (quotation

omitted), or do so for the first time in individual enforcement actions. The

States’ apparent preference for the latter approach does not transform

these run-of-the-mill agency informational documents into legislative

rules.

     The district court’s holding to the contrary lacks merit for several

reasons. First, the court incorrectly framed the inquiry as whether the

views given in the informational documents were compelled by Bostock.

Op. 40-42, R. 86, Page ID # 1981-1983. As already discussed, supra pp.

48-49, that was the wrong question. Agency guidance is most useful in

situations where the meaning of a law is unclear or requires

interpretation that courts have not yet had reason or opportunity to

provide.


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     Second, the district court’s insistence that only Bostock’s narrow

holding—and not its reasoning—can properly inform the agencies’

interpretations of Titles VII and IX does not withstand scrutiny. The

court noted, for example, that Bostock did not prejudge how its reasoning

would apply to Title IX and other statutes that prohibit sex

discrimination. Op. 40, R. 86, Page ID # 1981. The Supreme Court’s

choice to decide no more than necessary to resolve the Title VII claims at

issue in that case is unsurprising. But because Education has a statutory

duty to enforce Title IX—including by investigating complaints made by

private parties—the agency must interpret that statute, including by

considering the implications of Bostock for the (nearly identical)

prohibition against sex-discrimination contained in Title IX.            See

Chisholm v. St. Marys City Sch. Dist. Bd. of Educ., 947 F.3d 342, 349-350

(6th Cir. 2020) (“In crafting our framework for analyzing Title IX claims,

we have looked to the Title VII landscape for guidance, as both statutes

prohibit discrimination on the basis of sex.”).

     The district court’s reasoning is even weaker as to EEOC and Title

VII, where the court’s sole rationale was that Bostock did not purport to

prejudge how Title VII’s prohibition applies to sex-specific bathrooms and


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dress codes. Op. 42, R. 86, Page ID # 1983. For starters, the views

summarized in the challenged EEOC documents reflect EEOC’s

longstanding understanding of Title VII and did not purport to be an

interpretation of Bostock. But in any event, even if not part of the Court’s

holding, Bostock’s reasoning (about situations where sex is a but-for

cause of adverse employment decisions) has clear implications for the

questions that EEOC addressed. For both Education and EEOC, the

mere fact that Bostock declined to reach certain questions not necessary

to resolve that case (which would have been non-binding dicta, in any

event) does not mean that agency interpretations that reflect the logical

implications of Bostock’s reasoning are automatically legislative rules.

     Third, even accepting the district court’s incorrect view that an

agency issues a legislative rule any time it announces an understanding

of the law that goes beyond what is mandated by the text of the statute

and binding court precedent, the court’s conclusion that the documents

here are legislative rules is still wrong. While Bostock itself may not have

expressly addressed whether Title IX’s prohibition against sex

discrimination bars discrimination based on gender identity, numerous

courts of appeals—including this Court—have answered that question in


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the affirmative based on the statutory text both before and after Bostock.

See Dodds, 845 F.3d at 221-222; Grimm, 972 F.3d at 616; Whitaker, 858

F.3d at 1049-1050.        And while the Supreme Court has not yet had

occasion to address how Title VII would apply to sex-specific employment

policies related to dress codes and bathrooms, this Court and others have

recognized that such policies violate Title VII when an employer requires

a person who is transgender to conform to standards and norms based on

their sex assigned at birth. See Harris Funeral Homes, 884 F.3d at 560;

Barnes v. City of Cincinnati, 401 F.3d 729 (6th Cir. 2005); Smith v. City

of Salem, 378 F.3d 566, 573-575 (6th Cir. 2004).

     B.    The States Failed To Show that the Remaining
           Factors Favor Preliminary Relief.

     In order to obtain the “extraordinary remedy” of a preliminary

injunction, the moving party must show both a substantial likelihood of

success on the merits and that the balance of equities favors such relief.

See Overstreet v. Lexington-Fayette Urban Cty. Gov’t, 305 F.3d 566, 573

(6th Cir. 2002) (preliminary injunction should only be granted “if the

movant carries his or her burden of proving that the circumstances

clearly demand it”).       Even assuming the States made an adequate

showing of likely success on the merits of their notice-and-comment

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claim, they failed to show that the equities weighed in favor of a

preliminary injunction prohibiting the agencies from implementing the

challenged documents.

     1.    For largely the same reasons that the States failed to

establish their standing to challenge the agency documents, see supra

Part I, they likewise failed to show that those documents caused them

irreparable injury. The district court concluded that the States face

irreparable harm to their sovereign interests in the form of pressure to

alter laws that are inconsistent with the agencies’ statements. Op. 43-

44, R. 86, Page ID # 1984-1985. But as discussed above, to the extent the

States are experiencing some uncertainty about whether various laws

that differentiate based on sex assigned at birth are lawful, that

uncertainty does not spring from these documents. The States do not

contest that both Title VII and Title IX make it unlawful to discriminate

based on sex in employment and education. And the States do not (and

cannot) challenge the Supreme Court’s decision in Bostock, which went

to great lengths to explain why discrimination against transgender or

gay people is—as a matter of basic logic—also discrimination because of

sex. Nor do the States challenge the myriad cases from this Court and


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others that reflect the same interpretations of Title VII and Title IX set

forth in the challenged documents.

     Moreover, any harm the States might claim related to the

possibility of future enforcement against them is speculative and does not

rise to the level of irreparable harm. Any monetary harms the States

could potentially face as the result of a future enforcement action cannot

justify a preliminary injunction because “potential monetary damage

does not constitute irreparable harm.” Baker v. Adams Cty./Ohio Valley

Sch. Bd., 310 F.3d 927, 930 (6th Cir. 2002) (per curiam).

     In the end, the many ways in which the States attempt to

demonstrate potential injury and irreparable harm underscore that their

real quarrel here is with the underlying statutes and Bostock’s

interpretation of what it means to discriminate on the basis of sex. The

States cannot, however, establish irreparable harm based on their

general discomfort or dissatisfaction with recent developments regarding

the meaning of federal prohibitions against sex discrimination. And of

course, this kind of pre-enforcement challenge to agency informational

materials does not provide a vehicle for the States to relitigate or

collaterally challenge Bostock or binding circuit precedent from this


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Court and others across the country. To the extent there remains some

uncertainty as to precisely what Title VII and Title IX do and do not

allow, that only underscores the need for case-by-case analysis rather

than blunderbuss pre-enforcement challenges to general agency

informational documents.       See Bostock, 140 S. Ct. at 1753-1754

(contemplating that difficult questions about the implications of the

Court’s decision would be resolved in “future cases”).

     2.    On the other side of the ledger, there is a substantial public

interest in achieving Titles VII and IX’s goals of eliminating

discrimination in the workplace and education. Indeed, violations of

federal civil rights statutes constitute irreparable harm as a matter of

law. See Silver Sage Partners, Ltd. v. City of Desert Hot Springs, 251

F.3d 814, 827 (9th Cir. 2001); Roberts v. Colorado State Bd. of Agric., 998

F.2d 824, 833 (10th Cir. 1993).           Enjoining implementation of the

documents challenged here likely would inhibit the agencies from

adequately explaining to the public and regulated entities their

understanding of the requirements imposed by Titles VII and IX,

potentially leaving regulated entities confused about how the agencies

intend to apply the statutes. See Dodds, 845 F.3d at 222 (holding that


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the public interest weighed heavily against a stay of an injunction where

the injunction sought to protect a transgender student’s constitutional

and civil rights, “a purpose that is always in the public interest”); see also

New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977)

(Rehnquist, J., in chambers) (whenever the government “is enjoined by a

court from effectuating statutes enacted by representatives of its people,

it suffers a form of irreparable injury”).

      C.    The Preliminary Injunction Is Overbroad.

      Even assuming the district court did not abuse its discretion in

issuing some preliminary injunctive relief, it nevertheless abused its

discretion in issuing relief that was overbroad in two respects.

      First, the district court failed to justify extending its injunction to

plaintiff States that failed to identify any state laws that even arguably

conflict with the challenged documents. “The purpose of a preliminary

injunction is always to prevent irreparable injury so as to preserve the

court’s ability to render a meaningful decision on the merits.” United

Food & Commercial Workers Union, Local 1099 v. Southwest Ohio Reg’l

Transit Auth., 163 F.3d 341, 348 (6th Cir. 1998) (quoting Stenberg v.

Cheker Oil Co., 573 F.2d 921, 925 (6th Cir.1978)). And a preliminary


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injunction must be “no more burdensome to the defendant than

necessary” to prevent irreparable harm to the plaintiffs. Califano v.

Yamasaki, 442 U.S. 682, 702 (1979). Here, the district court held that a

preliminary injunction was justified because a few states had established

that they suffered irreparable harm in the form of pressure to change (or

decline to enforce) a handful of state laws. See Op. 43-44, R. 86, Page ID

# 1984-1985. But many of the plaintiff States identified no such laws,

and therefore failed to demonstrate any irreparable harm related to the

documents. See supra pp. 23-24 & n.4; Compl. ¶¶ 98-99, R. 1, Page ID #

18-19. The district court provided no explanation why it was necessary

to provide injunctive relief to those States. Nor did the district court (or

the States) identify any state laws that even arguably conflict with the

challenged documents to the extent those documents speak to

discrimination based on sexual orientation. See Op. 12 & n.8-9, R. 86,

Page ID # 1953. In both of those ways, the district court therefore abused

its discretion by failing to cabin its preliminary injunction to ensure that

it is “no more burdensome to the defendant than necessary” to prevent

the irreparable harm identified. Califano, 442 U.S. at 702.




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     Second, the court independently abused its discretion in extending

its injunction to States governed by circuit precedent indicating that

discrimination based on gender identity or sexual orientation is unlawful

sex discrimination, including States located within this Circuit.        See

Harris Funeral Homes, 884 F.3d 560; Dodds, 845 F.3d at 221-222; Smith,

378 F.3d at 573-575; Grimm, 972 F.3d at 618-619 (holding that

“application of its restroom policy against [a transgender student]

violated Title IX”); Whitaker, 858 F.3d 1034 (similar). Thus, for many of

the States, the district court’s injunction impermissibly enjoins the

agencies from implementing the challenged documents even though some

of the legal positions in those documents are compelled by the law of the

relevant circuit.

     That kind of conflict with the law of other federal courts counsels

against an injunction that sweeps outside of this Circuit. As other courts

have held, “when exercising its equitable powers to issue an injunction,

a court must be mindful of any effect its decision might have outside its

jurisdiction” and “ordinarily should not award injunctive relief that

would cause substantial interference with another court’s sovereignty.”

United States v. AMC Entm’t, Inc., 549 F.3d 760, 770 (9th Cir. 2008); see


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also Steele v. Bulova Watch Co., 344 U.S. 280, 289 (1952); Feller v. Brock,

802 F.2d 722, 728 (4th Cir. 1986) (district court abused discretion in

issuing injunction that frustrated “underlying policy of judicial

administration which counsels against the creation of conflicts” between

courts). The district court’s failure to consider those factors was an

independent abuse of discretion.




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                             CONCLUSION

     For the foregoing reasons, the district court’s preliminary

injunction should be vacated.            This Court should remand with

instructions to dismiss for lack of jurisdiction or, in the alternative,

should reverse on the merits because the States failed to demonstrate

either a substantial likelihood of success on the merits or that the balance

of equities favors preliminary relief.

                                          Respectfully submitted,

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December 2022




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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 12,523 words. This

brief also complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6) because it was prepared

using Word for Microsoft 365 in Century Schoolbook 14-point font, a

proportionally spaced typeface.



                                         s/ Jack Starcher
                                        Jack Starcher
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                    CERTIFICATE OF SERVICE

     I hereby certify that on December 15, 2022, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court of

Appeals for the Sixth Circuit by using the appellate CM/ECF system.




                                         s/ Jack Starcher
                                        Jack Starcher
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                  DESIGNATION OF RELEVANT
                 DISTRICT COURT DOCUMENTS

     Pursuant to Sixth Circuit Rule 28(b)(1)(A)(i), the government

designates the following district court documents as relevant:


Record Entry        Description                         Page ID # Range

RE 1                Complaint                           1-38

RE 1-2              Complaint, Exhibit A                41-45

RE 1-4              Complaint, Exhibit C                69-74

RE 1-5              Complaint, Exhibit D                75-86

RE 86               Memorandum Opinion and              1942-1988
                    Order
RE 97               Notice of Compliance                2057-2060

RE 99               Response to Notice of               2398-2406
                    Compliance
RE 100              Notice of Appeal                    2407-2408
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                    ADDENDUM
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Administrative Procedure Act, 5 U.S.C. § 500 et seq.
5 U.S.C. § 551. Definitions
   For the purpose of this subchapter—
***
(4) “rule” means the whole or a part of an agency statement of general or
particular applicability and future effect designed to implement,
interpret, or prescribe law or policy or describing the organization,
procedure, or practice requirements of an agency and includes the
approval or prescription for the future of rates, wages, corporate or
financial structures or reorganizations thereof, prices, facilities,
appliances, services or allowances therefor or of valuations, costs, or
accounting, or practices bearing on any of the foregoing;
***
5 U.S.C. § 553. Rule making
   (b) General notice of proposed rule making shall be published in the
Federal Register, unless persons subject thereto are named and either
personally served or otherwise have actual notice thereof in accordance
with law.
***
      Except when notice or hearing is required by statute, this
      subsection does not apply--
      (A) to interpretative rules, general statements of policy, or rules of
      agency organization, procedure, or practice;
***
(c) After notice required by this section, the agency shall give interested
persons an opportunity to participate in the rule making through
submission of written data, views, or arguments with or without
opportunity for oral presentation. After consideration of the relevant
matter presented, the agency shall incorporate in the rules adopted a
concise general statement of their basis and purpose.
***


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5 U.S.C. § 704. Actions Reviewable
    Agency action made reviewable by statute and final agency action for
which there is no other adequate remedy in a court are subject to judicial
review. A preliminary, procedural, or intermediate agency action or
ruling not directly reviewable is subject to review on the review of the
final agency action. Except as otherwise expressly required by statute,
agency action otherwise final is final for the purposes of this section
whether or not there has been presented or determined an application for
a declaratory order, for any form of reconsideration, or, unless the agency
otherwise requires by rule and provides that the action meanwhile is
inoperative, for an appeal to superior agency authority.


Title IX and Education
20 U.S.C. § 1681. Sex
   (a) Prohibition against discrimination; exceptions
No person in the United States shall, on the basis of sex, be excluded from
participation in, be denied the benefits of, or be subjected to
discrimination under any education program or activity receiving
Federal financial assistance, except that:
***
   (3) Educational institutions of religious organizations with contrary
   religious tenets
   this section shall not apply to an educational institution which is
   controlled by a religious organization if the application of this
   subsection would not be consistent with the religious tenets of such
   organization;
***
20 U.S.C. § 1682. Federal administrative enforcement; report to
Congressional committees
    Each Federal department and agency which is empowered to extend
Federal financial assistance to any education program or activity, by way
of grant, loan, or contract other than a contract of insurance or guaranty,
is authorized and directed to effectuate the provisions of section 1681 of

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this title with respect to such program or activity by issuing rules,
regulations, or orders of general applicability which shall be consistent
with achievement of the objectives of the statute authorizing the financial
assistance in connection with which the action is taken. No such rule,
regulation, or order shall become effective unless and until approved by
the President. Compliance with any requirement adopted pursuant to
this section may be effected (1) by the termination of or refusal to grant
or to continue assistance under such program or activity to any recipient
as to whom there has been an express finding on the record, after
opportunity for hearing, of a failure to comply with such requirement, but
such termination or refusal shall be limited to the particular political
entity, or part thereof, or other recipient as to whom such a finding has
been made, and shall be limited in its effect to the particular program, or
part thereof, in which such noncompliance has been so found, or (2) by
any other means authorized by law: Provided, however, That no such
action shall be taken until the department or agency concerned has
advised the appropriate person or persons of the failure to comply with
the requirement and has determined that compliance cannot be secured
by voluntary means.
***
20 U.S.C. § 1683. Judicial review
    Any department or agency action taken pursuant to section 1682 of
this title shall be subject to such judicial review as may otherwise be
provided by law for similar action taken by such department or agency
on other grounds. In the case of action, not otherwise subject to judicial
review, terminating or refusing to grant or to continue financial
assistance upon a finding of failure to comply with any requirement
imposed pursuant to section 1682 of this title, any person aggrieved
(including any State or political subdivision thereof and any agency of
either) may obtain judicial review of such action in accordance with
chapter 7 of Title 5, and such action shall not be deemed committed to
unreviewable agency discretion within the meaning of section 701 of that
title.




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Jurisdiction and Venue for the Courts of Appeals
28 U.S.C. § 1292. Interlocutory decisions
   (a) Except as provided in subsections (c) and (d) of this section, the
courts of appeals shall have jurisdiction of appeals from:
      (1) Interlocutory orders of the district courts of the United States,
      the United States District Court for the District of the Canal Zone,
      the District Court of Guam, and the District Court of the Virgin
      Islands, or of the judges thereof, granting, continuing, modifying,
      refusing or dissolving injunctions, or refusing to dissolve or modify
      injunctions, except where a direct review may be had in the
      Supreme Court;
***
Title VII and EEOC
42 U.S.C. § 2000e-2. Unlawful employment practices
   (a) Employer practices
It shall be an unlawful employment practice for an employer--
      (1) to fail or refuse to hire or to discharge any individual, or
      otherwise to discriminate against any individual with respect to his
      compensation, terms, conditions, or privileges of employment,
      because of such individual's race, color, religion, sex, or national
      origin; or
      (2) to limit, segregate, or classify his employees or applicants for
      employment in any way which would deprive or tend to deprive any
      individual of employment opportunities or otherwise adversely
      affect his status as an employee, because of such individual's race,
      color, religion, sex, or national origin.
***




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42 U.S.C. § 2000e-5. Enforcement provisions
   (a) Power of Commission to prevent unlawful employment
practices
The Commission is empowered, as hereinafter provided, to prevent any
person from engaging in any unlawful employment practice as set forth
in section 2000e-2 or 2000e-3 of this title.
(b) Charges by persons aggrieved or member of Commission of
unlawful employment practices by employers, etc.; filing;
allegations; notice to respondent; contents of notice;
investigation by Commission; contents of charges; prohibition on
disclosure of charges; determination of reasonable cause;
conference, conciliation, and persuasion for elimination of
unlawful practices; prohibition on disclosure of informal
endeavors to end unlawful practices; use of evidence in
subsequent proceedings; penalties for disclosure of information;
time for determination of reasonable cause
Whenever a charge is filed by or on behalf of a person claiming to be
aggrieved, or by a member of the Commission, alleging that an employer,
employment agency, labor organization, or joint labor-management
committee controlling apprenticeship or other training or retraining,
including on-the-job training programs, has engaged in an unlawful
employment practice, the Commission shall serve a notice of the charge
(including the date, place and circumstances of the alleged unlawful
employment practice) on such employer, employment agency, labor
organization, or joint labor-management committee (hereinafter referred
to as the “respondent”) within ten days, and shall make an investigation
thereof. * * * If the Commission determines after such investigation that
there is not reasonable cause to believe that the charge is true, it shall
dismiss the charge and promptly notify the person claiming to be
aggrieved and the respondent of its action. * * * If the Commission
determines after such investigation that there is reasonable cause to
believe that the charge is true, the Commission shall endeavor to
eliminate any such alleged unlawful employment practice by informal
methods of conference, conciliation, and persuasion. * * *.
***


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(f) Civil action by Commission, Attorney General, or person
aggrieved; preconditions; procedure; appointment of attorney;
payment of fees, costs, or security; intervention; stay of Federal
proceedings; action for appropriate temporary or preliminary
relief pending final disposition of charge; jurisdiction and venue
of United States courts; designation of judge to hear and
determine case; assignment of case for hearing; expedition of
case; appointment of master
(1) If within thirty days after a charge is filed with the Commission or
within thirty days after expiration of any period of reference under
subsection (c) or (d), the Commission has been unable to secure from the
respondent a conciliation agreement acceptable to the Commission, the
Commission may bring a civil action against any respondent not a
government, governmental agency, or political subdivision named in the
charge. In the case of a respondent which is a government, governmental
agency, or political subdivision, if the Commission has been unable to
secure from the respondent a conciliation agreement acceptable to the
Commission, the Commission shall take no further action and shall refer
the case to the Attorney General who may bring a civil action against
such respondent in the appropriate United States district court. The
person or persons aggrieved shall have the right to intervene in a civil
action brought by the Commission or the Attorney General in a case
involving a government, governmental agency, or political subdivision. If
a charge filed with the Commission pursuant to subsection (b) is
dismissed by the Commission, or if within one hundred and eighty days
from the filing of such charge or the expiration of any period of reference
under subsection (c) or (d), whichever is later, the Commission has not
filed a civil action under this section or the Attorney General has not filed
a civil action in a case involving a government, governmental agency, or
political subdivision, * * * the Commission, or the Attorney General in a
case involving a government, governmental agency, or political
subdivision, shall so notify the person aggrieved and within ninety days
after the giving of such notice a civil action may be brought against the
respondent named in the charge (A) by the person claiming to be
aggrieved or (B) if such charge was filed by a member of the Commission,
by any person whom the charge alleges was aggrieved by the alleged
unlawful employment practice. * * *

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Education Regulations
34 C.F.R. § 100.7. Conduct of investigations
(a) Periodic compliance reviews. The responsible Department official or
his designee shall from time to time review the practices of recipients to
determine whether they are complying with this part.
(b) Complaints. Any person who believes himself or any specific class of
individuals to be subjected to discrimination prohibited by this part may
by himself or by a representative file with the responsible Department
official or his designee a written complaint. A complaint must be filed not
later than 180 days from the date of the alleged discrimination, unless
the time for filing is extended by the responsible Department official or
his designee.
(c) Investigations. The responsible Department official or his designee
will make a prompt investigation whenever a compliance review, report,
complaint, or any other information indicates a possible failure to comply
with this part. The investigation should include, where appropriate, a
review of the pertinent practices and policies of the recipient, the
circumstances under which the possible noncompliance with this part
occurred, and other factors relevant to a determination as to whether the
recipient has failed to comply with this part.
(d) Resolution of matters.
   (1) If an investigation pursuant to paragraph (c) of this section
   indicates a failure to comply with this part, the responsible
   Department official or his designee will so inform the recipient and
   the matter will be resolved by informal means whenever possible. If
   it has been determined that the matter cannot be resolved by informal
   means, action will be taken as provided for in § 100.8.
   (2) If an investigation does not warrant action pursuant to paragraph
   (1) of this paragraph (d) the responsible Department official or his
   designee will so inform the recipient and the complainant, if any, in
   writing.




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34 C.F.R. § 100.8. Procedure for effecting compliance
(a) General. If there appears to be a failure or threatened failure to
comply with this regulation, and if the noncompliance or threatened
noncompliance cannot be corrected by informal means, compliance with
this part may be effected by the suspension or termination of or refusal
to grant or to continue Federal financial assistance or by any other means
authorized by law. Such other means may include, but are not limited to,
(1) a reference to the Department of Justice with a recommendation that
appropriate proceedings be brought to enforce any rights of the United
States under any law of the United States (including other titles of the
Act), or any assurance or other contractual undertaking, and (2) any
applicable proceeding under State or local law.




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